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        1:13-cr-00512        #:#:
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        1:13-cr-00512        #:#:
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        1:13-cr-00512        #:#:
                      Document 217-1  Filed:06/18/13
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        1:13-cr-00512        #:#:
                      Document 217-1  Filed:06/18/13
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Case:
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        1:13-cr-00512        #:#:
                      Document 217-1  Filed:06/18/13
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  Case:             Document
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                       Document        Filed: 06/18/13
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  Case:             Document
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                       Document        Filed: 06/18/13
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  Case:             Document
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                       Document        Filed: 06/18/13
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  Case:             Document
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  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
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  Case:             Document
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                       Document        Filed: 06/18/13
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  Case:             Document
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                       Document        Filed: 06/18/13
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  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
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                       Document        Filed: 06/18/13
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                       Document        Filed: 06/18/13
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  Case:             Document
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                       Document        Filed: 06/18/13
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  Case:             Document
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                       Document        Filed: 06/18/13
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  Case:             Document
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                       Document        Filed: 06/18/13
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  Case:             Document
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                       Document        Filed: 06/18/13
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  Case:             Document
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                       Document        Filed: 06/18/13
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                       Document        Filed: 06/18/13
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                       Document        Filed: 06/18/13
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  Case:             Document
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  Case:             Document
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                       Document        Filed: 06/18/13
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  Case:             Document
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  Case:             Document
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  Case:             Document
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                       Document        Filed: 06/18/13
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  Case:             Document
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  Case:             Document
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                       Document        Filed: 06/18/13
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  Case:             Document
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  Case:             Document
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                       Document        Filed: 06/18/13
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                       Document        Filed: 06/18/13
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                       Document        Filed: 06/18/13
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  Case:             Document
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                       Document        Filed: 06/18/13
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  Case:             Document
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                       Document        Filed: 06/18/13
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  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
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                       Document        Filed: 06/18/13
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  Case:             Document
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                       Document        Filed: 06/18/13
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                       Document        Filed: 06/18/13
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                       Document        Filed: 06/18/13
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                       Document        Filed: 06/18/13
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                       Document        Filed: 06/18/13
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Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
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                                                                  103PageID
                                                                      PageID#:213
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Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                                  103PageID
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Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                            77 of
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                                                                  103PageID
                                                                      PageID#:215
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Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                                  103PageID
                                                                      PageID#:216
                                                                             #:1099
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                            79 of
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                                                                  103PageID
                                                                      PageID#:217
                                                                             #:1100
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                            80 of
                                                               of 73
                                                                  103PageID
                                                                      PageID#:218
                                                                             #:1101
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                                  103PageID
                                                                      PageID#:219
                                                                             #:1102
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                               of 73
                                                                  103PageID
                                                                      PageID#:220
                                                                             #:1103
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                               of 73
                                                                  103PageID
                                                                      PageID#:221
                                                                             #:1104
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                               of 73
                                                                  103PageID
                                                                      PageID#:222
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Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                               of 73
                                                                  103PageID
                                                                      PageID#:223
                                                                             #:1106
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                                  103PageID
                                                                      PageID#:224
                                                                             #:1107
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                                  103PageID
                                                                      PageID#:225
                                                                             #:1108
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                                  103PageID
                                                                      PageID#:226
                                                                             #:1109
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                               of 73
                                                                  103PageID
                                                                      PageID#:227
                                                                             #:1110
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                                  103PageID
                                                                      PageID#:228
                                                                             #:1111
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
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                                                                  103PageID
                                                                      PageID#:229
                                                                             #:1112
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                                  103PageID
                                                                      PageID#:230
                                                                             #:1113
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                                  103PageID
                                                                      PageID#:231
                                                                             #:1114
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                                  103PageID
                                                                      PageID#:232
                                                                             #:1115
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                                      PageID#:233
                                                                             #:1116
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                                  103PageID
                                                                      PageID#:234
                                                                             #:1117
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                                  103PageID
                                                                      PageID#:235
                                                                             #:1118
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                                  103PageID
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                                                                             #:1119
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document        Filed: 06/18/13
                                #: 1-2 Filed: 09/12/17 Page
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                                                                      PageID#:237
                                                                             #:1120
Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document  #: 1-2Filed:
                                       Filed:09/12/17
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Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document  #: 1-2Filed:
                                       Filed:09/12/17
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Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document  #: 1-2Filed:
                                       Filed:09/12/17
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Case: 1:13-cr-00744
  Case:             Document
         1:13-cr-00512       #: 217-1
                       Document  #: 1-2Filed:
                                       Filed:09/12/17
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